Pro Se l (Rev. 12/16) Complaint for a Civil Case

'7,’“?$'} '?f':‘z»

UNITED STATES DISTRICT CoURT 29 99 9 9;;
forthe wi r`

Middle District of Tennessee
U.S. Courthouse
Estes Kei`auver Federal Building & Courthouse
801 Broadway, Room 800
Nashville, TN 37203

Cocle 446: Civil Rights Division

j3‘=»118=“13()1

(to be filled in by the Cle)'k ’s Oj‘ice)

Case No.

 

Janek .lohn Pawlik

 

Plaintnf(s)
(Write the full name of each plaintiff who is filing this complaint
If the names of all the plaintijfs cannot fit in the space above,
please write “see attached ” in the space and attach an additional
page with the/3111 list of names.) '

..v_

Jury Trial: (check one) § Yes l:l No

AMC Entertainrnent Holdings, lnc.
One AMC Way
l 1500 Ash Street
Leawood, Johnson County, Kansas 6621]

 

Defendant(s)
(Write the full name of each defendant who is being sued. lf the
names of all the defendants cannot fit in the space above, please
write "see attached " in the space and attach an additional page
with the full list of names )

\_/VV\./\/\_/\./\/\/\/\/\/\/\/\./

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint Attach additional pages if

 

 

 

 

 

needed
Name Janek John Pawlik
Street Address 1400 Marrimans Court
City and County Franklin, Williamson County
State and Zip Code Tennessee 37067-8576
Telephone Number 615-587-9890
E-rnail Address ianek pawlik@hotmail.com

 

Case 3:18-cv-01301 Document 1 Filed 11/20/18 Page 1 Of 5 Pag€|D #Z l Pagelow

 

Pro Se l (Rev. 12/16) Complaint for a Civil Case

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation F or an individual defendant,
include the person‘S job or title (ifknown). Attach additional pages if needed.

Defendant No. l
Name
JOb Or Titl€ fifknown)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (ifknown)

Defendant No. 2
Name
Job or Title (;'fknown)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Add!‘€SS (ifknown)

Defendant No. 3
Narne
Job or Title fifknown)
Street Address
City and County
State and Zip Code
Telephone Nurnber

E-mail AddreSS (l`fknown)

Defendant No. 4
Name
Job or Title /ifknown)
Street Address
City and County
State and Zip Code

AMC Entertainment Holdin,qs, Inc.

 

 

one AMC Way, 11500`Ash Streér

 

Leawood. Johnson County

 

Kansas 6621]

 

913~213-2000

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 3:18-cv-01301 Document 1 Filed 11/20/18 Page 2 of 5 Page|D #: 2

Page 2 of 7

 

 

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

III.

(If more than one plaintijj‘ is named in the complaint attach an additional page providing the
same information for each additional plaintz`]f.)

 

2. The Defendant(s)
a. If the defendant is an individual
The defendant, (name)' , is a citizen of
the State of (name) ‘ . Or is a citizen of

 

(foreign nation)

 

 

b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (fo)~eign nation) ,

 

and has its principal place of business in (name)

 

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant )

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,()00, not counting interest and costs of court, because (exp/ain):

gross negligence and continued dissregard for Federal ADA laws . Plantiff requests for a
complete corporate and operational review of ADA compliance Plantiff also requests a
1,500,000 civil judgement against AMC Entertainment Holdings, lnc.

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. lf more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph Attach additional pages if needed

Case 3:18-cv-01301 Document 1 Filed 11/20/18 Page 3 of 5 Page|D #: 3

Page 5 of 7

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

 

IV.

The AMC Entertainment Holdings Group, Inc. has not complied with ADA Title lIl. AMC Entertainment
Holdings Group, Inc. has not installed handicap buttons in order to enter or exit the main entry locations

After major renovations to the recently acquired Cannike Cinemas were made including reclining seating, dine-
in theaters, restaurants and bars there was no accomodation for handicap entrance or exit buttons installed at the
even main entry locations

ADA Part III Part 36 Nondiscrimination on the Basis of Disability in Public Accommodations and Commercial
Facilities (as amended by the final rules published on August 11, 2016, and December 2, 2016)

Authority: 5 U.S.C. 301; 28 U.S.C. 509, 510; 42 U.S.C. 12186(b) and l2205a.

Subpart A _ General

§ 36.101 Purpose and broad coverage

° (a) Purpose. The purpose of this part is to implement title lll of the Americans with Disabilities Act of
1990 (42 U.S.C. 12181-12189), as amended by the ADA Amendments Act of 2008 (ADA Amendments Act)
(Public Law 110-325, 122 Stat. 3553 (2008)), which prohibits discrimination on the basis of disability by
covered public accommodations and requires places of public accommodation and commercial facilities to be
designed, constructed, and altered in compliance with the accessibility standards established by this part.

(b) Broad coverage The primary purpose of the ADA Amendments Act is to make it easier for people with
disabilities to obtain protection under the ADA. Consistent With the ADA Amendments Act’s purpose of
reinstating a broad scope of protection under the ADA, the definition of “disability” in this part shall be
construed broadly in favor of expansive coverage to the maximum extent permitted by the terms of the ADA.
The primary object of attention in cases brought under the ADA should be whether entities covered under the
ADA have complied with their obligations and whether discrimination has occurred, not whether the individual
meets the definition of “disability.” The question of whether an individual meets the definition of “disability”
under this part should not demand extensive analysis

Place of public accommodation means a facility operated by a private entity whose operations affect commerce
and fall within a motion picture house, theater, cncert hall, stadium, or other place of exhibition or entertainment

 

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages cl`aimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages

Plantiff asks that AMN Entertainment, Holdings, Inc. comply with accepted ADA laws as a private entity and
that public ADA access be granted

 

Case 3:18-cv-01301 Document 1 Filed 11/20/18 Page 4 of 5 Page|D #: 4

Page 6 of 7

 

 

Pro Se l (Rev. 12/16) Complaint for a Civil Case

V. Certification and Closing

Under Federal Rule of Civil Procedure 1 1, by signing below, l certify to the best of my knowledge, information,
and belief that this complaint (_l) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11. .

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. l understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing:

 

    

Signature of Plaintiff
Prinied Name of Plaintiff iaan tenn Pawiik

\` y y jj ,/`

 

 

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 

ease szla-cv-olaol Documem 1 Filed 11/20/18 Paoe 5 Of 5 PaQ€lD #f 5 isng 7

